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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                Eastern Division

Nineva Oglesby
                                                 Plaintiff,
v.                                                             Case No.: 1:12−cv−05338
                                                               Honorable Marvin E. Aspen
SSC Westchester Operating Company, LLC
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 4, 2013:


        MINUTE entry before Honorable Daniel G. Martin: Agreement reached among
the parties. Settlement conference set for 2/5/2013 is stricken. Parties directed to file
stipulated dismissal order within thirty (30) days with the District Judge. All matters
relating to the referral of this action having been concluded, the referral is closed and the
case is returned to the assigned judge. Judge Honorable Daniel G. Martin no longer
referred to the case.Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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